   Case 11-33448                Doc 40          Filed 05/31/19 Entered 05/31/19 16:45:53                                    Desc Main
                                                  Document     Page 1 of 1



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